* Reporter's Note — For former reports of litigation involving same property, see Halliday v. York Lake Co. et al.,125 Ohio St. 608, 183 N.E. 791; State, ex rel. Fulton, Supt. ofBanks, v. Halliday et al., 132 Ohio St. 179,5 N.E.2d 407, and State, ex rel. Fuiton, Supt. of Banks, v. Halliday,Admr., 133 Ohio St. 630, 15 N.E.2d 540.
It is ordered and adjudged that said appeal as of right be, and the same hereby is, dismissed for the reason no debatable constitutional question is involved in said cause.
Appeal dismissed.
WEYGANDT, C.J., MATTHIAS, DAY, ZIMMERMAN, WILLIAMS, MYERS and GORMAN, JJ., concur. *Page 69 